               Case 4:15-cv-00258-HSG Document 64 Filed 04/08/16 Page 1 of 2
                                                                                                   Reset Form

 1                                    UNITED STATES DISTRICT COURT
 2                                   NORTHERN DISTRICT OF CALIFORNIA
 3   Ebarle                                            )
                                                       ) Case No: 3:15-cv-00258
 4                                                     )
                                       Plaintiff(s),   ) APPLICATIONFOR
 5                                                     ) ADMISSION OF ATTORNEY
            v.
                                                       ) PRO HAC VICE
 6   Lifelock, Inc.
                                                       ~ (CIVIL LOCAL RULE 11-3)
 7                                                     )
                                       Defendant(s).
 8
          I, John J Pentz                           an active member in good standing of the bar of
 9
      District of Massachusetts     , hereby respectfully apply for admission to practice pro hac vice in the
10    Northern District of California representing: James E. Pentz                               in the
      above-entitled action. My local co-counsel in this case is C. Benjamin Nutley                      an
11    attorney who is a member of the bar of this Court in good standing and who maintains an office
12    within the State of California.
       MY ADDRESS OF RECORD:                               LoCAL co-coUNSEL's ADDRESS OF RECORD:
13    19 Widow Rites Lane                                  1055 E. Colorado Blvd.
      Sudbury, MA 01776                                    Pasadena, CA 91106
14
       MY TELEPHONE# OF RECORD:                            LoCAL co-coUNSEL's TELEPHONE# OF RECORD:
15    (978) 261-5725                                       ( 626) 204-4060
       MY EMAIL ADDRESS OF RECORD:                         LoCAL co-coUNSEL'S EMAIL ADDRESS OF RECORD:
16    jjpentz3@gmail.com                                  nutley@zenlaw.com
          I am an active member in good standing of a United States Court or of the highest court of
17    another State or the District of Columbia, as indicated above; my bar number is: 561907
18        A true and correct copy of a certificate of good standing or equivalent official document from said
      bar is attached to this application.
19        I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially the
      Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local Rules.
20
          I declare under penalty of perjury that the foregoing is true and correct.
21
      Dated: 04/08/16                                               JohnJPentz
22                                                                           APPLICANT

23
                                     ORDER GRANTING APPLICATION
24                             FOR ADMISSION OF ATTORNEY PRO HAC VICE
25       IT IS HEREBY ORDERED THAT the application of John J Pentz                              is granted,
     subject to the terms and conditions of Civil L.R.ll-3. All papers filed by the attorney must indicate
26   appearance pro hac vice. Service of papers upon, and communication with, local co-counsel
27   designated in the application will constitute notice to the party.

28   Dated: 4/8/2016
                                                            UNITED STATES DIS1RICT/MAGISTRATE JUDGE

     PRO HAC VICE APPLICATION & ORDER                                                                 October 2012
    Case 4:15-cv-00258-HSG Document 64 Filed 04/08/16 Page 2 of 2




           UNITED STATES DISTRICT COURT


                   District of Massachusetts

                                                       CERTIFICATE OF

                                                       GOOD STANDING




  L     Robert M Farrell,            Clerk of this Court,

 certify that       John J. Pentz, IlL           Bar 561907,

 was duly admitted to practice in this Court on

  September 15, 1995, and is in good standing

      as a member of the Bar of this Court.


Dated at Boston, Massachusetts on April 04, 2016




 Robert M. Farrell
        CLERK
